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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
PP                                               271 Cadman Plaza East
F. #2021R00894                                   Brooklyn, New York 11201



                                                 October 19, 2022

By ECF
The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Terrae Hinds
                     Criminal Docket No. 22-195 (KAM)

Dear Judge Matsumoto:

               The government respectfully submits this letter in response to the Court’s
order from earlier today regarding defendant Terrae Hinds’s complaints about his food at the
Metropolitan Detention Center (“MDC”). MDC Legal Department responded that “the BOP
emphasizes and encourages the resolution of complaints through the Administrative Remedy
process. The first step in [that] process is to attempt an Informal Resolution with the unit
team. When an informal resolution is not successful, an inmate can submit a formal
complaint to the Warden of the institution. A review of Hinds’ administrative remedy
submission history shows he has not attempted this process of informal resolution.” Further,
the Legal Department advised the government that it spoke to the defendant’s unit team and
that the defendant “has never complained to any unit team staff about not receiving his food
and he has never spoken to unit team staff about bugs as well.”

                                                 Respectfully submitted,

                                                 BREON PEACE
                                                 United States Attorney

                                          By:     /s/ Philip Pilmar
                                                 Philip Pilmar
                                                 Assistant U.S. Attorney
                                                 (718) 254-6106

cc:    Clerk of Court (KAM) (By ECF)
       Sam Gregory, Esq. (By ECF)
